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 7
                                UNITED STATES DISTRICT COURT
 8
                               WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 9

10      SHAWN CANEPA,
                                                              CASE NO. 3:21-cv-05927-RSM-JRC
11                             Plaintiff,
                                                              ORDER GRANTING STIPULATED
12              v.                                            MOTION FOR AN EXTENSION
13      SAFECO INSURANCE COMPANY OF
        AMERICA,
14
                               Defendant.
15

16          This matter is before the Court on referral from the district court and on the parties’

17   stipulated motion to extend defendant’s expert disclosures deadline. Dkt. 17.

18          The Court finds good cause and grants the motion. Defendant’s expert disclosures

19   pursuant to Fed. R. Civ. P. 26(a)(2) are due by November 6, 2022. Any rebuttal expert

20   disclosures are due by November 20, 2022. All other deadlines remain the same.

21          Dated this 30th day of September, 2022.


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23
                                                          J. Richard Creatura
24                                                        Chief United States Magistrate Judge

     ORDER GRANTING STIPULATED MOTION FOR AN
     EXTENSION - 1
